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                                                    AND AFrlliATED PARTNERSHIPS



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                                                     February 15, 2013


       The Honorable Sall y Shushan
       United States District Court
       Eastern District of Louisiana
       Un ited States Courthouse
       500 Poydras Street
       New Orleans, LA 70130

                           Re:      BP' s Response to Class Counsel's Revised Proposed Supplemental
                                    Information Program, as submitted on January 30, 2013

       Dear Judge Shushan:

               By this letter, BP provides the Court and Class Counsel with its comments, concerns and
       objections to Class Counsel's most recent revised proposed plan for the Suppl emental
       Information Program ("SIP"), submitted to the Court and BP on January 30, 20 13. Although the
       current proposal is somewhat improved as compared to previous submissions, the SIP cannot and
       should not "be approved as designed," as Class Counsel request. The proposed revised SIP fai ls
       to incorporate changes di scussed by the parties when the SIP was last considered in December.
       Most significantly, the current proposal includes broadcast, print, and social media spots that
       omit any reference to the Settlement, fai l to communicate the Settlement's purpose of provid ing
       compensation for losses resulting from the Deepwater Horizon incident, and are otherwise
       factually inaccurate and mi sleading. In addition to these and other substantive fl aws requiring
       rejection, approval and implementation of the SIP would be inappropriate at thi s time in light of
       the significant ongoi ng di spute among the parties, pending before the Court, regarding the Court-
       Supervised Settlement Program's implementation of the Economic and Property Damage
       Settlement' s Business Econom ic Loss (' BEL") Compensation Framework.

              In overview, there are three fundamental problems with the SIP as proposed. First, the
       SIP deviates materiall y from the contents of the Class Notice. The SIP divorces, almost entirely,
       claimed damages from any causal nexus with the Deepwater Horizon Oil Spi ll. That is
       inappropri ate, confusing and misleading - and also contrary to the express terms of the parties'
       Settlement Agreement.




Hong Kong      London        Los Angeles   Munich     New York        Palo Alto   San Francisco   Shanghai        Washington, D.C.
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        Second, the SIP targets ind ividual s and businesses in certain specific areas- areas where
there is low likelihood of any damages at all, much less causal damages arising from the oil spill .
Examples include farmers, construction firm s and law firm s. Setting aside the increased risk of
clai ms for fi ctitious, non-existent losses and/or fraud, it is misleading at best to target and solicit
participants in certain sectors of the economy where there is low likel ihood that there was a
negati ve economic impact caused by the spill.

       Last, the SIP improperly suggests that all li steners and recipients of SIP communications
are members of the defined Class, regardless of the class definition and, in many instances,
contrary to the class definition.

Deferral of the SIP Until BEL Compensation Framework Issues Are Resolved

        Before even reaching the substantive content of the proposed SIP, BP submits that no
action should be taken with respect to the SIP until the di spute regarding the BEL Compensation
Framework is finally resolved. As the Court is aware, the parties are attempting to resolve, with
the Court' s assistance and through mediation, certain claims administration questions involving
the Settlement Program 's implementation of the BEL Compensation Framework (Settlement
Agreement at Ex. 4C). Among the types of claims where these errors have produced particularly
absurd and illogical results are claims by businesses in the farming, construction, and
professional services industries. Yet despite this ongoing dispute, the SIP focu ses on BEL
claims in these very industries. For example, the television spots entitled "Freeze Frame" and
"Answers" (S IP Tab C), as well as the proposed radio spots (SlP Tab D), all reference
lumberyard owners, and the proposed print ads (SIP Tab E) feature profess ional services workers
and livestock farmers.

        Moreover, it is clear that the SIP, as des igned, expressly and specifi cally is premised on a
view of the Settlement Agreement that dispenses with the carefully-negotiated causation
requirement: "In fact, the Settlement contemplates payments to quali fying businesses regardless
of the actual facts and circumstances." (Supplemental Information Plan Approval Memorandum
("S TP Memo") at 5.) That statement is simply inaccurate and untrue, and is contrary to the
Registration Form as we ll as the Claim Form; it is also contrary, we submit. to the attestation
signed by claimants. The statement will give rise to numerous unmeritorious claims.

       Unti l the BEL issue has been fina ll y resolved, the proposed SIP should not move
forward, as it focuses on such disputed claims, disseminates confusing and/or inaccurate
information about BEL claim s, and encourages add itional claims based on such information.
Deferral is appropriate both to preserve the Court's ability to address the issue fully and, equall y
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importantly, to avoid potentially misinform ing and confusing class members and the public.
Accordingly, consideration of any SIP should be deferred pending resolution of the BEL issue.

BP's Substantive Objections to Selected Aspects of Class Counsel's Proposed SIP

        As Your Honor may recall, Class Counsel last presented a proposal for the SIP in
December, at wh ich time the parties, with the guidance of the Court, conferred regarding the
specific content of certain proposed informational pieces. Most notably, the parties negotiated
about a proposed television spot that had already been film ed (prior to BP's review of the script)
featuring Claims Admin istrator Patrick Juneau. As a concession to avoid the inconvenience of
re-filming a revised spot, BP consented to the Court approving the proposed "Juneau" television
spot (notwithstanding certain outstanding objections), provided that cet1ain post-production
changes were made. Specifically, the spot was to direct viewers so lely to the official Claim s
Administrator' s Settlement website (www.DeepwaterHorizonSettlements.com), and mutually-
agreed text was to be superimposed to convey the causation requirement fur econom ic loss
claims ("Damages must be as a result of the Deepwater Horizon incident as provided in the
Deepwater Hori zon Economic and Property Damages Settlement Agreement"). But BP in no
way waived its objections to cet1ain misleading or otherwise inappropri ate content in other
proposed informational pieces. To the contrary, discussion of those other in format ional pieces
was put off until a later time, at which point Class Counsel would submit modified versions for
consideration.

        Wh ile some of the points discussed then by the parties are refl ected in Class Counse l's
rev ised SIP, they are not applied consistently throughout the various ads and media
communications. Several of the proposed informational spots continue to use inaccurate and/or
misleading language regarding the Settlement. Moreover, the current SIP introduces new
concepts that are obj ectionable on their face and/or require further explanation. BP' s specific
objections to components of the SlP are discussed further as follows, and are reflected in the
mark-ups of the proposed SIP scripts and ads attached hereto as Exhibit A.

       A.      Proposed Direct Call Program

        Class Counsel's proposed Direct Call Program , described with specificity for the first
time in the January 30, 20 13 STP submiss ion, is inappropriate as currently designed and should
not be approved. First, Class Counsel offer no detail whatsoever as to what businesses would be
"targeted" for the Direct Call Program, nor do they describe how they would identify businesses
that are "in the class" in the first instance. (S IP Memo at 1.) Those in the Class are defined; but
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the Direct Call Program is divorced from the class definition. Thus, the scope of the potential
ca lling campaign is unclear.

         Second , to the extent details about the Direct Call Program are provided, they ra ise
serious substantive and professional concerns about the appropriateness of the proposed
campaign. BP obj ects to operators calling persons and entiti es, with no basis to know whether
they are even in the Class, and identifying themselves as "callin g on behalf ofth e court-approved
BP Deepwater Horizon Economic Settlement" (S IP Tab G) - particularly where the operators
have not been trained by the Colii1-Supervised Settlement Program and do not work with the
Court-Supervised Settlement Program. Moreover, even if operators were appropriately trained
(and there is no indication from Class Coun sel's proposal as to what training, if any, that Direct
Call Program operators would receive), representatives of the Court-Supervised Settlement
Program should not be affirm atively contacting businesses: (a) with assumption that those
businesses have any actual losses at all, much less losses caused by the spill; (b) with the
assumption that they should file claims under the Settlement, and (c) asking those businesses if
they have actuall y fil ed claims. It is not appropriate for the Claims Administrator or Court-
Supervised Sett lement Program personnel, who are serving a neutral adjudicative function, to be
soliciting potential class members and encouraging them to participate or suggesting any view on
the merits of their potential unsubmitted claims. See Settlement Agreement at §§ 4. 1, 4.3 .1 ,
4.4.7, 6. In fact, the Court-Supervised Settlement Program already has established processes in
place for communicating with potential class members who have filed claims. To the extent
such contacts are initi ated by independent third-party media personnel, or media personnel
engaged by Class Counsel, any representation that they are calling on behalf of the Court-
Supervised Settlement Program would be inaccurate and mislead ing.

        Moreover, the invas ive outreach proposed by Class Counse l is misguided, as it would
inevitably create unrealistic expectations among those Vlho are contacted and encouraged to file
a claim. Claims only should be fil ed by those who believe and attest that they have suffered a
loss caused by the oil spill. That is what the Registration Form and Claim Form provide.
Encouraging people and businesses to file claims to see whether they can get money under
inaccurate pretenses is not appropriate.

        In add ition, the SIP, as described in the Settlement Agreement, contemplates another
Class Notice approach; it does not anticipate or assume cold calls to businesses and individuals
fo r whom there is no basis to believe that they have claims for losses caused by the oil spill.
Such an approach is not contemplated by the Settlement Agreement and is likely to result in
unnecessary and inappropriate, if not fraudulent, claims being made. Such an approach, which
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inev itably will lead to these adverse results, should not be approved or encouraged. In sum , the
very concept of the Direct Call Program proposed by Class Counsel is flawed and should not be
approved .

       Finally, the proposed script for the Direct Call Program (S IP Tab G) contains inaccurate
and misleading statements - beyond the misidentification of the source of the call - that
should not be sanctioned by the Court or the Court-Supervised Settlement Program. Problematic
language in the proposed script includes the following, among others (as set forth in the attached
Exhibit A(g)) :

   •    "BP has agreed that businesses and organizations are eligible for payment. " This
        statement is false, omits the causation requirement, and should be qualified to state, "BP
        has agreed that if you or your business were harmed by the Deepwater Horizon Oil Spill,
        you may be eligible for payment." This language tracks the Class Notice and should not
        dev iate ti·om it.

    •   "Tens of thousands of businesses and organizations qualify for billi ons in BP settlement
        fund s .... " There is no empirical data supporting the quantification of businesses and
        organizations that actually qualify for compensation under the Settlement. In addition,
        the statement as wri tten does not cite the causation requirement and inaccurately suggests
        that there is a ded icated pool of Settlement money to be distributed, when in fact there is
        no fi xed fund . The statement should be amended to track the language of the Claim
        Form, Registration Form or C lass Notice.

    •   "A fanner in north Louisiana qualified." This example is inappropriate and should not be
        used because the eligibility of the farmer in north Louisiana is the subject of a pending
        appeal, and also is subj ect to the parties' current di spute regardin g implementati on of the
        BEL Compensation Framework.

    •   "Ifvou have any doubt about vour eli gibilitv ... " This language suggests in the context of
        the call, without basis, that call recipients most likely are eligible for compensation under
        the Settlement and, further, incorrectl y implies that recipients should presume they are
        eligible for compensation even if they know or doubt that they experienced any harm
        caused by the spill. 1 This biased language should be deleted and repl aced with more


    Because a va riation of this phrase ("·As I" ve said before, if in do ubt, tile a cl aim"") is inc luded in the Court-
    approved ·'Juneau" televis io n spot (S IP Tab C), C lass Counsel may have mistakenly assumed that BP waived its
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       neutral language such as, " If you have any questions about e ligibility or need further
       information .... "

        C lass Counsel' s representation that they have "communicated w ith ethics counsel"
regarding the proposed direct call program (S IP Memo at 5) does not rende r their proposed
program appropriate. To the contrary, both the content and the structure of the proposed Direct
Call Program- as well as the entire SIP - quickl y raised concern among the ethics experts BP
consulted . Even as roughly sketched out by C lass Counsel, the Direct Call Program, like other
aspects of the SIP, raises issues of solicitation, adverti sing, mis lead ing informat ion, and the
creation of improper expectations.

       B.       Specific Proposed Content of SIP Spots and Communications

        The scripts and materials submitted w ith the proposed SIP contain phrases and statements
that are inaccurate and likely to confuse and mis inform class members, as well as create
unrealistic expectations about the Settlement. T he fo llowing examples are particularly tro ubling
and require ap pro priate revis ion before approva l and implementation of C lass Counsel' s
pro posed SIP.

        )>   Tile written script for tile previously-approved "Juneau" television spot must be
             updated to reflect previously-agreed revisions. While the filmed te levision spot
             featuri ng Mr. Juneau correctl y incorporates the changes agreed by the parties, the
             w ritten "Juneau" script (S IP Tab C) does not re flect a ll of the changes and should be
             amended, as set fo rth in Exhibit A(c), to reflect the ed its and addi t io ns that were
             fundamental to the parti es ' discuss ion and to avoid any risk of confus io n or erro r:




   obj ection to thi s phrase. However, as previous ly noted, BP consented to use o f that phrase in the "Juneau" spot
   so lely as a n acco mmodation so that the spot would not need to be re-filmed. To mitigate some of the effec t of
   the phrase, moreover, the parti es agreed that the "Juneau" television spot would include a written disclosure,
   superimposed on the screen. to make cl ear that claim ants' losses must be a result o f the Dccp,,·ater Horizo n
   incident. There is no such discla imer in the Direct Call scripts. Thus, BP has not in any way wa ived its ri ght to
   cha llenge that statement in other SIP materi a ls.
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              •   A written statement to re flect that compensabl e losses must have been caused
                  by the Deepwater Horizon incident ("Causation Statement") appears on the
                  screen from approximately :07 th rough :12 of the filmed "Juneau" spot:
                  "Damages must be as a result of the Deepwater Horizon incident as
                  provided in the Deepwater Horizon Economic and Property Damages
                  Settlement Agreement." T hi s important language, negotiated and agreed by
                  the parties, should be inserted into the written "Juneau" script itself.

              •   Likew ise, the text of the " newspaper headline" that appears o n the screen
                  from approximately :13 through :20 ofthe filmed and approved "Juneau" spot
                  should be reflected in the written "Juneau" script (as well as the written scripts
                  for the " Answers" and " Freeze Frame" spots, where the " newspaper headline"
                  a lso appears), as noted in Exhibit A(c).

              •   The parties previous ly agreed, and the Court echoed, that the " Juneau" spot
                  (and indeed a ll SIP materials) should direct potential c lass members to the
                  offic ial Settlement website mainta ined by the C laims Administrator
                  (www.DeepwaterHorizonSettlements.com), and not to an y new s ite
                  previously       proposed        by      C lass     Counsel       (such    as
                  www.B PRecoveryProject.com).         T he w ritten "Juneau" scri pt should be
                  updated to reflect onl y the authorized website.

       ~   Th e proposed television, radio, and print spots and scripts omit the critical am/
           previously-agreed Causation Statement that only economic losses caused by the
           Deepwater Horizon incident are compensable. The written Causation Statement that
           was critical to approval of the "Juneau" te levision s pot does not appear in the written
           scripts or actual te lev ision spots entitled " Answers" and " Freeze Frame" (S IP Tab C).
           As prev ious ly negotiated and agreed by the parties, the inc lus ion of this Causati on
           Statement - "Damages must be as a result of the Deepwater Horizon incident as
           provided in the Deepwater Horizon Economic and Property Damages Settlement
           Agreement" - is essential to communicate the impo rtant causatio n requirement. The
           Causation Statement sho uld be added to the w ritten scripts for the " Answers" and
           "Freeze Frame," as set forth in attached Exhibit A(c), and inserted as s uperim posed
           text in the corresponding spots. Likewise, this impo11ant Causation Statement must
           be added to the two radio spots (S IP Tab D) as set forth in attached Exhibit A(d), and
           to the four print adverti sements (SlP Tab E) as set fo rth in attached Exhibit A(e), in
           o rder to avoid mis leading and creating unrealistic expectatio ns amo ng potential class
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              members, particularly given that the spots and ads target regtons within Zone D,
              where there is no causation presumption.

       );;>   Several proposed spots make unsupportable and misleading assertions presented as
              fact. The television script entitled "Freeze Frame" (SIP Tab C) begin s with the
               statement, "Tens of thousands of businesses and organizations may qualify for BP
               Deepwater Horizon Economic Settlement Funds even though they aren ' t directly on
               the Gulf." However, there is no empirical data suggesting that tens of thousands of
               potential class members are actually eli gible for Settlement fund s even if they are
               remotely located from the Gulf itself, and thi s statement om its the causation
               requirement. The statement should track the Class Notice and be amended to,
               "Businesses and organizations that were harmed by the Deepwater Horizon Oil Spill
               may qualify for BP Deepwater Horizon Economic Settlement Fund s even though they
               aren't directly on the Gulf," as set forth in attached Exhibit A(c). Similarly, all four
               of the proposed print advertisements (S IP Tab E) feature misleading language that
               falsely suggests that all businesses and organ izations are eli gible for Settlement
               payments and inaccurate ly implies that there is a fixed fund of Settlement money to
               be distributed: "BP has agreed that businesses and organizations are eligib le for
               payment from the billions in the Deepwater Horizon Econom ic Settlement fund. "
               The text for all four print ads should be revised to track the Class Notice and state,
               "BP has agreed that businesses and organizations that were harmed by the Deepwater
               Horizon Oil Spill may be eligible for payment from the Deepwater Horizon
               Economic Settlement," as set forth in attached Exhibit A(e).

       );;>   The recommendation that Class Members should file claims as a default ignores
              the causation requirement. One of the proposed print advertisements (SIP Tab E)
              encourages viewers, "When in doubt, file a claim ." This phrase improperly suggests,
              without basis, that the viewer most likely is eligible for compensation under the
              Settlement. It also ignores the requirement that any request for compensation under
              the Settlement must be causally related to the Deepwater Horizon incident. And, it
              improperly suggests that a claimant can sign the Registration Form and C laim Form
              without having a belief and making a sworn attestation that the claim is for losses
              caused by the Deepwater Horizon Oil Spill. Accordingly, th is phrase should not be a
              part of the SIP. Likewise, several of the proposed internet banner ads include
              language that encourages viewers to "Fi le a claim" in order to "Find out if you
              quali fy" (SIP Tab F), without reference to causation. These ads should be amended,
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              as set forth in attached Exhibit A(f), to e liminate any suggestio n that people and
              entities sho uld file c laims as a default, without regard to causatio n.

        );>   The proposed use of Twitter "Tweets" is unclear, am/ some proposed language is
              misleading. In general, Class Counsel has prov ided inadequate detail regarding the
              proposed use of T w itter. For example, from the limited information presented
              regarding the proposed Twitter effort (S lP Tab F), it is unclear w hat Tweet recipients
              wou ld be clicking through "to see who qualifies" (proposed Tweet #2) or "to see if
              there is money waiting for you?" (proposed Tweets #4 and 8). The indicated link
              (Http:/bit.lyffU uRup) should be changed to reflect the address of the o ffi cial
              Settlement website (www.DeepwaterHorizonSettlements.com) .                Indeed, it is
              inconceivable that a Tweet could possibly, in 140 characters, communicate the
              causation requirement and convey suffic iently accurate and not confusing o r
              misleading information for a rec ipient to determine their el igibility for Settlement
              fund s. In short, greater c larity and explanation is needed about the proposed Twitter
              feeds to allow BP to prov ide reasoned reaction and comment. In addition, BP objects
              to speci fi e language in several of the proposed Tweets (SIP Tab F), as reflected below
              and in attached Exhibit A(f) :

                 •    The phrase, "qualify for BP money" (pro posed Tweets #2, 3, 4, 5, 6, and 7) is
                      objectionable because it inc ludes no reference to the Settlement itself. It
                      should be changed to "qualify for compensation under the BP Settlement."

                  •   The phrase "many bus inesses and organizations quali fy for settlement fund s"
                      (proposed Tvveet # I) should be amended to " many businesses and
                      organizatio ns harmed by the Deepwater Ho rizon sp ill may qualify for
                      compensation under the BP Settlement."

                  •   The stateme nt, "Bus inesses and organizations that aren' t directl y on the Gulf
                      qualify for BP money" (proposed Tweet #3) should be amended to refl ect the
                      causatio n requirement: " Businesses and organizatio ns harmed by the
                      Deepwater Horizon spill that aren' t directl y on the Gulf may quali fy for
                      compensatio n from the BP Settlement."
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              •   The example that a "farmer in northern Louisiana qualified for BP money"
                  (proposed Tweet #4) should be eliminated entirely because the el igibility of
                  that claim is the subj ect of a pend ing appeal and is also subject to the parties'
                  current di spute regarding im plementation of the BEL Compensation
                  Framework.

              •   The proposed Tweet stating, "When in doubt, fil e a claim" (proposed Tweet
                  #9) should be eliminated entirely because it improperly suggests, without
                  basis, that the Tweet recipient most likely is eligible for compensation under
                  the Settlement. It also ignores the requirement that any request for
                  compensation under the Settlement be causally related to the Deepwater
                  Horizon incident.

              •   The phrase, "see if there's money waiting fo r you" (proposed Tweets #4 and
                  8) incorrectly suggests that there is a fi xed fund of Settlement money to be
                  distributed. It should be changed to "see if you might be eli gible."

        >- Internet Banner A ds Contain Inaccurate and Misleading Statem ents. Several of
           the proposed internet banner ads (S IP Tab F) include the text, "qualify for a
           settlement from BP." T hi s text is factuall y mislead ing. The Settlement has already
           occurred and been approved, and the only question is whether someone qualifies fo r a
           payment under the terms of the Settlement. This text shou ld be more appropriately
           changed to, "qualify for compensation under the BP Settlement." There are several
           other instances of mi sleading and/or confusing text in the banner ads that are noted,
           with proposed amended text, in the attached E xhibit A(f) .
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         C.      Details Not Su fficiently Set Forth in SIP Proposal

         The proposed SIP plan does not offer suffic ient detail regarding all of the proposed
 commun ication efforts to allow BP a meaningful opp01tunity for review and comment. Section
 4.4. I5 of the Settlement Agreement provides BP the opportunity to review in advance and
 com ment on any proposed SIP. Given the importance of accurate communications to the success
 and publ ic perception of the Settlement, and the defects in the limited materials that Class
 Counsel has provided to BP, it is important that BP be perm itted to review and provide input on
 all SIP content before approval and dissem ination to potential class members. See Settlement
 Agreement at § 4.4 .1 5. BP's input is a critical part of the SIP process and shou ld not be treated
 as a mere form ality. Rather, BP's substantive feedback should be careful ly considered as a
 safeguard to ensure that each of the SIP 's components are factually accurate, not mislead ing, and
 entirely consistent with the Class Action Settlement Notice Program, as required by the
 Settlement Agreement.

         Here, significant substantive details regard ing the proposed STP are simp ly om itted. For
 example, in the memorandum describing the SIP, Class Counsel refers to the attached radio
 scripts (S IP Tab D) as "exemplars of the aud io that would run" (STP Memo at 4), apparently
 meaning that Class Counsel intends to change the content, includ ing highlighted business types,
 of the radi o scripts at some point in the future. Simi larly, when discussing the proposed use of
 social media (S IP Tab F), Class Counsel refers to providing internet users with a "customized
 web experience" (STP Memo at 4), again suggesting that Class Counsel intends to make post-
 approval alterations to SIP content with regard to social media and without notice or the
 opportun ity to comment by BP or by the Court. BP objects to al lowing Class Counsel this
 proposed carte blanche to alter the specific content of STP communications without prior Court
 review and approval, contrary to Section 4.4. I5 of the Settlement Agreement. BP- as well as
 the Court itself - must be permitted to review and comment upon any alterations to SIP content,
 including radio scripts and website content, before it is disseminated to potential class members
 as part of a BP-funded,2 Court-approved SIP. See Settlement Agreement at§ 4.4. I 5.




     The Settlement Agreement requires BP to fund the SIP in an amoum up to S5 million in total. See Senlemem
     Agreement at § 4.4. 15. To the cxtclll that C lass Counsel's estimated proposed budget actually exceeds the
     $4 ,520.1 74 currently allocated (SI P Tab B). BP will only furnish S5 million.
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         Accordingly, for these reasons, among others, BP requests that the Court defer
 consideration and approval of the proposed SIP plan until after the parties' dispute regarding the
 BEL Compensation Framework is finall y resolved. In addition, BP asks that when the proposed
 SIP plan is ultimately considered, the Court require that certain changes be made, as outlined
 above, before the SIP is approved. Finally, if instead of the unprecedented SIP proposed, Class
 Counsel wish - as they should - to propose another version of the already-approved Class
 Notice, then BP wou ld have no objection to using the pre-approved Class Notice language, or
 some version thereof, immed iately. That language is accurate; was already approved by the
 Court; and according to experts on both sides, was clear and not confusing. It also will avoid any
 further disagreement or disputes between Class Counsel and BP regarding the language of the
 SfP. And , such a Class-Notice-based SfP could be implemented now, without risk.


                                                     Respectfully submitted,

                                                     ~~\./\. L . A~
                                                     Richard C. Godfrey, P.C. d ,; t. 1.
 Cc:    James Roy
        Steve Herman
        Brian Barr



 RCG/cpl
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Mr. Pat Juneau- TV Script
Title: Deepwater
30 Second

Juneau to camera:

I'm Patrick Juneau, the court appointed claims administrator for the
BP Deepwater Horizon Economic Settlement.

BP has agreed that businesses and organizations are eligible for payment.

(Written disclaimer appears on screen: "Damages must be as a result of the
Deepwater Horizon inc::ident as provided in the Deepwater Horizon Economic
and Pm perty Damages SettFement Agreement.")

And not just those directly on the Gulf.

A farmer in north Louisiana qualified. A bike shop in Florida. A restaurant in north   Comment [s1]: BP agreed to use of this farmer
                                                                                       In nonh Louisiana example f or the • Juneau"' spot
Alabama... and a car dealership in Mississippi.                                        only.



(Image of newspaper headline appears on screen, "BP Reaches Estimated $7.8
Billion Deal - Bloomberg.com 3/3/12." }SwpeF: (9A !iG~eA)

In general, businesses and organizations that had a decline in revenue for any
consecutive 3-month period between May and December 2010 as compared to
previous years may qualify. Go to
DeepWaterHorizonSettlem ents. comBPReeaveryPrajeet.eam for full information.

site ehange alt : Qee{iJWeter/WrizaRSett!emeRts.a:Jm for mare iR-farmfltiaR.

Juneau to camera:

There's a formula in place and if you fit, you qualify. As I've said before, if in
doubt, file a claim.                                                                   Comment [ s2]: BP agreed to t he "if in doubt"
                                                                                       language for this spot only.


Super: (on screen)
BPRea:JveryPrej ect.eem (site ef:lange alt : DeepWaterHorizonSettlements.comJ
1-886-992-6174
The Court Supervi sed Settlement Program
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                                   TV Script

"Answers,
30 Second TV Spot

 Announcer VO:

 When it comes to qualifying for BP Deepwater Horizon Settlement Funds,
 people still have a lot of questions.

 Do I have to be a fisherman?

 The answer is no.

 {\Vriften disclaimer appears on screen: "Damages must be as a result of
 the Deepwater Horizon incident as provided in the Deepwater Horizon
 Economic and Property Damages Settlement Agreement.")

 Do I have to live on the Gulf Coast?

 Again, the answer is no .

 .(Image eo. sereeo: of newspaper headline a{ newspaper appears on
 screen: "BP Reaches Estimated $7.8 Billion Deal - Bloomberg.com
 3/3/12." (aels that is the same as Jt:mea~ spot).

 Whether you own a restaurant,

 A car dealership,

 Or even a lumberyard.                                                     Comment [sl): Object because construction
                                                                           businesses fall squarely with in the current BEL
                                                                           Compensalion Framev.orX dispute.
 . . . you may quali fy.

 Find out now if you qualify at DeepWaterHorizonSettlements.com.

 Don ' t wait to get the answers you need.
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                                 TV Scripts


"Freeze Frame"
30 Second TV Spot

Announcer VO:

TeAs eftl=tousaAds ofbBusinesses and organizations that were harmed by tlrle
 Deepwater Horizon Oi ~ Spill may qualify for BP Deepwater Horizon
 Economic Settlement Funds even though they aren't directly on the Gulf.

 (\Vritten disclaimer appears on screen: "Damages must be as a result of
 the Deepwater Horizon incident as provided in the Deepwater Horizon
 Economic and Propertv Damages Settlement Agreement.")

Truth is, whether you own a lumberyard,                                        Comment [s1): Obj ect because construction
                                                                               businesses fa ll squarely within the current BEL
                                                                               Compensation Framework dispute.
(Image eo sereen: of newspaper headline ef newspaper appears on
screen: " BP Reaches Estimated $7.8 BiUion Deal - Bloomberg.com
313/12.")tl=tat is tl=te same as Juneau SJ30l.

 A car dealership,

 Or even a restaurant, you may qualify.

 Go to DeepWaterHorizonSettlements.com to learn if you do.

 Everyday more hard working people are finding out they qualify and
 moving forward. Now is your chance to do the same.
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 "Claim - LAMSAL"
 Radio: 60 second
 Voice Over

 BP has agreed that businesses and organizations may be eligible for
 payment from the BP Deepwater Horizon Economic Settlement Fund.

 But when it comes to qualifying people still have a lot of questions.

 Do I have to be a fisherman?

 The answer is no.

 Do I have to live on the Gulf Coast?

 Again, the answer is no. Businesses in all parts of Louisiana, Alabama and
 Mississippi may qualify so long as damages were the result of the
 Deep\ ater Horizon inddemt as provided in tl~e Deepwater Horizo11
 !Economic a11d Property Damages Settlement Agreement

 Visit deepwaterhorizonsettlements.com or call 1-866-992-6174 for more
 information on this court approved settlement.

 Whether you own a restaurant,

 A car dealership,

 Or even a lumberyard.                                                        Comment [sl]: Object because construction
                                                                              businesses fall squar<Oly within the current BEL
                                                                              Compensation Framework dispute.
 .. . you may qualify.

 Visit DeepWaterHorizonSettlements.com or calll-866-992-6174 to
 learn more today.

 There's a formula in place and if you fit, you qualify.
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"Claim FL"
Radio: 60 second
Voice Over

 BP has agreed that businesses and organizations may_be eligible for
 payment from the BP Deepwater Horizon Economic Settlement Fund.

 But when it comes to qualifying people still have a lot of questions.

 Do I have to be a fisherman?

 The answer is no.

 Do I have to live on the Gulf Coast?

 Again, the answer is no. Businesses in all parts of the Florida panhandle and
 the Gulf Coast of Florida down to the Keys may qualify so long as damages
 were the result oftlrle Deepwater Hor[zom incident as provided in tlile
 Deepwater Horizon !Economic and Property Darnages Settlement
 Agreernent.

 Visit deepwaterhorizonsettlements.com or call 1-866-992-6 174 for more
 information on this court approved settlement.

 Whether you own a restaurant,

 A car dealership,

 Or even a lumberyard.                                                           Comment [51]: Object becawe construction
                                                                                 businesses fall sq~ly "ithin the current BEL
                                                                                 Compensation Framt\\Ork dispute.
 .. . you may qualify.

 Visit DeepWaterHorizonSettlements.com or calll-866-992-6174 to
 learn more today.

 There's a formula in place and if you fit, you qualify.
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                     The Court Supervised Settlement Program
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                         The Court Supervised Settlement Program
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      Case 2:10-md-02179-CJB-DPC Document 11876-10 Filed 11/20/13 Page 26 of 34
                                                                                  .,
1                                                                                  '
    YOU DON'T HAVE TO BE A FISHERMAN TO QUALIFY.
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                                     The Court Supervised Settlement Program
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Keyword                        Global Monthly Sea rches       Local Monthly Searches
BP Settlement                                         18,100                           14,600
Deepwater Horizon Settlement                            6,600                           5,400
BP Oil Spill Claim                                      2,400                           2,400
BP Oil Spill Settlement                                 2,400                           2,400
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Headline                                Text line 1                                 Text li ne 2                                   Link
Qualify for compensation under the BP   Find out if you qualify today.              Many people already have.                      www.DeepWaterHorizonSettlements .com
settlement money?
Qualify for compensation under the BP   You may qualify for compensation 81'4-      F~lffl-today; If you were harmed by the www.DeepWaterHorizonSettlements.com
settlement ffi!ffieY?                   seltlemeAt.                                 oil spill.
Qualify for compensation under the BP   Find out if you qualify for a               compensation under the settlement..from-QP.,. www.DeepWaterHorizonSettlements.com
settlement money?                                                                   Fil&-a slaiFR.

BP Settlement                           Not directly on the Gulf?                   You may still qualify if you were harmed by the www.DeepWaterHorizonSetliements.com
                                                                                    oil spill.
BP Settlement                           Find out if you qualify for a               settlement compensation from the BP             www.DeepWaterHorizonSettlements .com
                                                                                    settlement. ~aim.
BP Settlement                           You may qualify for compensation BP-a-      l'ile-a-claif'IHOday, If you were harmed by the www.DeepWaterHorizonSettlements.com
                                        settlemeRl.                                 oil spill.

BP Settlement Money                     Find out if you qualify for a               settlement compensation from the BP            www.DeepWaterHorizonSettlements .com
                                                                                    settlement. ~im.

BP Oil Spill Claim                      You may qualify for compensation BP-a-      ~m-today,          If you were harmed by the www.DeepWaterHorizonSettlements.com
                                        settlemeRt.                                 oil spill.
BP Oil Spill Claim                      Find out if you qualify for a               compensation under the settlement<()!~
                                                                                    today. File-ooliAe.
BP Oil Spill Claim                      Hanmed by BP oil spill?                     You may qualify for compensation under the a. www.DeepWaterHorizonSettlements.com
                                                                                    settlement.

DeepWater Horizon Settlement            Find out if you qualify today.              Rle-a-clafflr.                                 www.DeepWaterHorizonSettlements.com

DeepWater Horizon Settlement            Looking for settlement information?         You may qualify for compensation under the     www.DeepWaterHorizonSettlements.com
                                                                                    BP settlement ~·
DeepWater Horizon Settlement            Looking for information on the DeepWater    Horizon Settlement? Learn more.                www.DeepWaterHorizonSettlements.com

DeepWater Horizon Settlement            You or your business harmed by              Deepwater Horizon? File a claim.               www.DeepWaterHorizonSettlements .com



BP Oil Spill Settlement                 Not directly on the Gulf?                   You may still qualify if you were harmed by the www.DeepWaterHorizonSettlements.com
                                                                                    oil spill.
BP Oil Spill Settlement                 Find out if you qualify for a               settlement compensation from the BP             www.DeepWaterHorizonSettlements.com
                                                                                    settlement. ~
BP Oil Spill Settlement                 You may qualify for compensation under the File-a-claim-today,-lf you were harmed by the   www.DeepWaterHorizonSettlements.com
                                        SP-a-settlement.                           oil spill.
BP Oil Spill Settlement                 Find out if you qualify for a              compensation under the settlement claim-        www.DeepWaterHorizonSettlements .com
                                                                                    today~.
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 BP Tweets

 1. Many businesses and organizations harm ed by the Deepwater
    Horizon spill may qualify for com pensation unde r the feF.-BP
    settlement fu nds fro m BP. See if you .!lli!.¥-qualify here:
    Http:/ / b itly / T ilu.R\:lpwww.IDeepwalrerHo rjzo nSe ttlem emts.co m

 2. You don't have to be a fisherman to qualify for cornpensatio n under the
    IBP settlementB P FHoney. Click through to see who qualifies:
    Http:/ / bitlyfTUI:I:IR:\:lpwww.IDeepwaterHorizonSettle ments.com

 3. Businesses and organizations f1armed by the Deepwater Horizon
    SJlill_that aren't directly on the Gulf may_qualify for compensation from
    the BP settlementBP FHone;r. Qualify today
    Http:/f lait.lyfTUHRupwww.DeepwaterHo r izomSettlements.co m

 4. A farmer in Nortl:l boHisiana EJHalifieEI for eemeensation 11nEier tke BP
    settlementBP money. Cli€1< tJ:trougJ:t to see if you mi&J:tt be eli&ible
    there's money wailing fer ya\:l:
    Http:/fbit.ly/TUHRHpwww.DeepwaterHorizonSettlemeots.com                     Comment [s1): Object to this example
                                                                                because the claim o f a fanner in North
                                                                                Louisiana is the subject of a pending appeal
                                                                                and falls squarely wi thin the cllm!nt BEL
 5. A bike shop in Florida qualified for compensatio n under tl1e BJi>          Compensation Framework d ispute.
    settlementBP money. Visit Http:/I
    bit.lyf TUI:I:Rupwww.Deepwater HorizonSettlements.co m to see if you
    do too

 6. A restaurant in North #Alabama qualified for compensation under the
    IB P settlement8P mo ney. Visit
    Http:/f bit.ly{fUuR\:l pw ww.DeepwaterHorjzo nSettlements .com to
    see if you do too

 7. A car dealership in #Mississippi qualified for compensation under the
    BJi> seUiementB P moaey. Visit
    Http:// bit.lyfTUuRupwww. DeepwaterHorjzonSettlements.com to
    see if you do too
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 8. There's a formula in place to see if you quali fy for money from the BP
    settle me nt Visit
    Http:/ / lait ly/ TUuRupwww.DeepwaterHorizo nSettlements.com to
    see if you might be eligiblethe re's me a ey 'NaitiRg fer ye u.

 9. WheR iA Eleubt, file a claim fer QP settlemeAt ffiREi s. Vis it
    Htt13:/lbitly/TUuRu13
    t&Elaywww.DeepwaterHorjzonSettle ments.com                                Comment [s2): Object because this
                                                                              statement ignores the causation requirement
                                                                              and suggests. "ithout basis, that the recipient
                                                                              most likely is eligible for compensation under
                                                                              the Sculement.
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    Draft phone script for the court approved BP Deepwater Horizon
    Economic Settlement. This script is written based on contacting
    targeted businesses.                                                    Comment [51]: Not clear what the •targeted
                                                                            businesses are•




    [Once the business owner and/or decision maker of the business
    is on the phone]: Hi, this is              and I am calling on behalf
    efabout the Court Approved BP Deepwater Horizon Economic
    Settlement. BP has agreed that if you or your business were             Comment [s2]: Objection to calling on behalf of
                                                                            CA
    harnned by the Deepwater Horizon Oil Spill, businesses and
    organizations areyou may be eligible for payment. Tens of
    thousands of bBusinesses and organizations that were harmed by
    the Deepwater Horizon Oil Spill may qualify for bil'lions in BP
    settlement funds and not just those located directly in the Gulf.
    The purpose of my call today is to see if you have already filed a
    claim or if you are in the process of filing a claim .

    [Record status)
    A) Have already filed a claim

    B)   In the process of filing a claim

    C)   Unsure if we are eligible to file a claim



    [IF A- Already filed a claim): That's great. We just wanted to
    touch base and make sure you have the information that you
    need and direct you to the website if you have any questions. (If
    needed, the website is DeepWaterHorizonSettlements.com).
I   The Claims Administrator V'·le also have has a call center of
    trained representatives that can assist you with any questions that
    you may have.
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    [IF 8 orC-In the process of filing or unsure if eligible]:


    OK. For example: A farmer in north Louisiana qualified. A bike            Comment [53]: Object to this example because
                                                                              the claim of a farmer in North lou isiana is the
    shop in Florida qualified . A restaurant in north Alabama ... and a       subject of a pending appeal and fa ll squarely wrthin
                                                                              the current BEL CompensaUon Fra mework dispute.
    car dealership in Mississippi. If you have any questionsGetH3t
    about ym:.rr eligibility or need any-further information, the website
    is DeepWaterHorizonSettlements.com. Or if you prefer, we can
I   connect you to the Claims Administrator's OOF-Call center where
    trained representatives will explore your eligibility and/or help you
    file your claim. [Call Associate will transfer calls to the call center
    as deemed appropriate.]

    Thank you for your time today, hopefully we've been able to
    provide some helpful information.
